     Case 2:09-cr-00872-DB Document 2 Filed 11/19/09 PageID.6 Page 1 of 2




BRETT L. TOLMAN, United States Attorney (#8821)
J. DREW YEATES, Assistant United States Attorney (#9811)
Attorneys for the United States of America
185 South State Street, Suite 300 • Salt Lake City, Utah 84111
Telephone: (801) 524-5682 • Facsimile: (801) 325-3387
______________________________________________________________________________

                           IN THE UNITED STATES DISTRICT COURT

                    DISTRICT OF UTAH, CENTRAL DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,                    :         Case No. 2:09CR00872 DB

                       Plaintiff,            :
                                                       MOTION FOR WRIT OF HABEAS
       v.                                    :         CORPUS AD PROSEQUENDUM

RAMON RIVERA,                                :

                       Defendant.            :         Magistrate Judge Paul M. Warner

______________________________________________________________________________

        The United States Attorney for the District of Utah respectfully shows this Honorable

Court that the above named defendant, RAMON RIVERA, now being confined in the Utah State

Prison, under the authority of the state of Utah, is to appear in United States District Court for the

District of Utah before the Honorable Magistrate Paul Warner, on November 24, 2009, at 11:30

a.m., on the charges of Title 18 U.S.C. § 1951(a), Hobbs Act Robbery, and it is necessary that the

defendant be present in person on said date, during proceedings, appearances, and final

disposition of the case;

       NOW, THEREFORE, your petitioner respectfully prays that this Honorable Court do

forthwith order a Writ of Habeas Corpus Ad Prosequendum to issue from this Court to the

United States Marshal, for the District of Utah, requiring that a Marshal, or any agent with
     Case 2:09-cr-00872-DB Document 2 Filed 11/19/09 PageID.7 Page 2 of 2




Federal Bureau of Investigation to serve said Writ on the Warden, or Superintendent, or

custodian of any place or institution where the said defendant is confined, and requiring said

Marshal to produce said defendant before the Court on the above stated date for proceedings and

appearances upon the charge aforesaid, and to hold the defendant at all times in his custody as an

agent of the United States of America until final disposition of the case, thereafter to return the

defendant to the institution wherein now confined.

       DATED this 19th day of November, 2009.

                                               BRETT L. TOLMAN
                                               United States Attorney

                                               /s/ J. Drew Yeates
                                               J. DREW YEATES
                                               Assistant United States Attorney




                                                -2-
